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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,


               Defendant



     GOVERNMENT’S RESPONSE TO DEFENDANT PAUL J. MANAFORT, JR.’S
       MOTION TO DISMISS ONE OF TWO COUNTS AS MULTIPLICITOUS

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this response to defendant Paul J. Manafort, Jr.’s motion (Doc. 236) to dismiss either

Count Four or Count Five of the Superseding Indictment (Doc. 202) on the ground that the two

counts are multiplicitous. Manafort’s motion lacks merit. The two counts do not charge the same

offense within the meaning of the Double Jeopardy Clause because proving a violation of the

Foreign Agent Registration Act’s (FARA) false-statements provision, 22 U.S.C. § 618(a)(2), does

not necessarily establish a violation of 18 U.S.C § 1001(a), and proving a Section 1001(a) violation

does not necessarily establish a false-statements violation under FARA. But even if Manafort’s

argument had merit, pre-trial dismissal would be unwarranted because any multiplicity here

presents only a problem of multiple punishments that can and should be addressed post-trial if the

jury convicts Manafort on both counts. Accordingly, Manafort’s motion should be denied.

                                        BACKGROUND

       Counts Four and Five of the Superseding Indictment (“Indictment”) are based on

representations that Manafort and co-conspirator Richard Gates caused to be made in letters

submitted to the Department of Justice’s FARA Unit in November 2016 and February 2017. The
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Indictment alleges that, in 2012, Manafort and Gates arranged for two D.C.-based lobbying firms,

Company A and Company B, to lobby in the United States on behalf of the Government of

Ukraine, its President at the time (Yanukovych), and Yanukovych’s political party (the Party of

Regions). Indictment ¶ 21. The Indictment further alleges that, “[t]o minimize public disclosure

of their lobbying campaign and distance their work from the Government of Ukraine,” Manafort

and others arranged for a third party—the European Centre for a Modern Ukraine (Centre)—“to

be the nominal client of Company A and Company B,” id. ¶ 24, and Gates provided false and

misleading documentation to give the lobbying firms a pretext for failing to register with the

Department of Justice as agents of Ukraine, id. ¶ 25.

       In 2016, press reports focused on Manafort’s connections with Ukraine. Indictment ¶ 26.

The Indictment alleges that, in response and “[t]o conceal the scheme,” “Manafort and Gates

developed a false and misleading cover story that would distance themselves and the Government

of Ukraine, Yanukovych, and the Party of Regions from the Centre, Company A, and

Company B.” Id. The Indictment further alleges that, when the Department of Justice sought to

determine whether Manafort, Gates, and their firm (DMP International, or DMI) had acted as

unregistered agents of a foreign principal, Manafort and Gates “caused false and misleading letters

to be submitted to the Department of Justice, which mirrored the false cover story” that they had

previously developed and shared with a principal of Company B. Id. ¶ 27. Specifically, the letters

contained representations that:

       •    DMI’s “efforts on behalf of the Party of Regions” “did not include meetings or outreach

            within the U.S.”;

       •    MANAFORT and Gates did not “recall meeting with or conducting outreach to U.S.

            government officials or U.S. media outlets on behalf of the [Centre], nor do they recall


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            being party to, arranging, or facilitating any such communications. Rather, it is the

            recollection and understanding of Messrs. Gates and Manafort that such

            communications would have been facilitated and conducted by the [Centre’s] U.S.

            consultants, as directed by the [Centre]. . . .”;

       •    MANAFORT and Gates had merely served as a means of introduction of Company A

            and Company B to the Centre and provided the Centre with a list of “potential U.S.-

            based consultants—including [Company A] and [Company B]—for the [Centre’s]

            reference and further consideration.”

       •    DMI “does not retain communications beyond thirty days” and as a result of this policy,

            a “search has returned no responsive documents.” The November 2016 letter attached

            a one-page, undated document that purported to be a DMI “Email Retention Policy.”

Id. (emphasis omitted).

       These and other representations in the letters are alleged to be “false and misleading,” and

Manafort knew them to be so. See Indictment ¶ 4 (“[W]hen the Department of Justice sent

inquiries to MANAFORT and Gates in 2016 about their activities, MANAFORT and Gates

responded with a series of false and misleading statements.”). In particular, the Indictment alleges

that, contrary to the representations in the letters, Manafort and Gates had:

       selected Company A and Company B; engaged in weekly scheduled calls and frequent e-
       mails with Company A and Company B to provide them directions as to specific lobbying
       steps that should be taken; sought and received detailed oral and written reports from these
       firms on the lobbying work they had performed; communicated with Yanukovych to brief
       him on their lobbying efforts; both congratulated and reprimanded Company A and
       Company B on their lobbying work; communicated directly with United States officials in
       connection with this work; and paid the lobbying firms over $2 million from offshore
       accounts they controlled, among other things.

Indictment ¶ 28. In addition, court-authorized searches of Manafort’s e-mail accounts and a search

of Manafort’s Virginia residence had “revealed numerous documents, including documents related

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to lobbying, which were more than thirty-days old at the time of the November 2016 letter to the

Department of Justice,” id., thus suggesting that the letter’s representations about e-mail retention

were likewise false and misleading.

       Count Four charges that Manafort “knowingly and willfully caused to be made a false

statement of a material fact, and omitted a material fact necessary to make the statements therein

not misleading, in a document filed with and furnished to the Attorney General under the

provisions of FARA,” in violation of 22 U.S.C. § 618(a)(2) and 18 U.S.C. § 2. 1 Indictment ¶ 45.

The charge identifies six excerpts from the letters, including the representations quoted above, as

the basis for violation. Indictment ¶ 45.

       Count Five, in turn, charges that Manafort violated 18 U.S.C. §§ 1001(a) and 2 based on

the same representations in the two letters. 2 Indictment ¶ 47. Tracking the statutory language,

Count Five alleges that Manafort “knowingly and willfully did cause another: to falsify, conceal,




       1
         Section 618(a)(2) provides in relevant part that “[a]ny person who . . . in any registration
statement or supplement thereto or in any other document filed with or furnished to the Attorney
General under the provisions of this subchapter willfully makes a false statement of a material fact
or willfully omits any material fact required to be stated therein or willfully omits a material fact
or a copy of a material document necessary to make the statements therein and the copies of
documents furnished therewith not misleading, shall, upon conviction thereof, be punished by a
fine of not more than $10,000 or by imprisonment for not more than five years, or both.”

       Section 2 of Title 18, which is referenced in Count Four, punishes as a principal whoever
aids and abets the commission of an offense or “willfully causes an act to be done which if directly
performed by him or another would be an offense against the United States.”
       2
           Section 1001(a) provides in relevant part that “whoever, in any matter within the
jurisdiction of the executive, legislative, or judicial branch of the Government of the United States,
knowingly and willfully—
        (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
        (2) makes any materially false, fictitious, or fraudulent statement or representation; or
        (3) makes or uses any false writing or document knowing the same to contain any
materially false, fictitious, or fraudulent statement or entry;
        shall be fined under this title, imprisoned not more than 5 years or, . . . both.”
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and cover up by a scheme and device a material fact; to make a materially false, fictitious, and

fraudulent statement and representation; and to make and use a false writing and document

knowing the same to contain a materially false, fictitious, and fraudulent statement.” Id.

                                           ARGUMENT

       Manafort argues (Doc. 236 at 4–9) that Counts Four and Five are multiplicitous and moves

the Court to require that the government choose to try him on one of the counts while dismissing

the other. As explained below, the Court should reject those requests: Counts Four and Five

permissibly charge separate statutory violations, and even if a multiplicity defect existed,

dismissing one of the counts at sentencing would sufficiently remedy it.

       A. Counts Four and Five Charge Separate Offenses Under The Blockburger Test

       1. “It is well settled that a single transaction can give rise to distinct offenses under separate

statutes without violating the Double Jeopardy Clause” of the Fifth Amendment. Albernaz v.

United States, 450 U.S. 333, 344 n.3 (1980). Convictions for separate statutory charges based on

the same conduct violate that Clause’s protection “against multiple punishments,” and qualify as

multiplicitous, only when those convictions are “for the same offense.” United States v. Mahdi,

598 F.3d 883, 887 (D.C. Cir. 2010) (internal quotation marks omitted), cert. denied, 562 U.S. 971

(2010); see United States v. Cooper, No. 17-3015, 2018 WL 1542496, at *5 (D.C. Cir. March 30,

2018). To determine whether two crimes under separate statutory provisions qualify as “the same

offense” for double jeopardy purposes, courts have long applied the test set forth in Blockburger

v. United States, 284 U.S. 299 (1932), which asks “whether each provision requires proof of a fact




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which the other does not, i.e., whether either is a lesser included offense of the other.” Mahdi, 598

F.3d at 888 (internal quotation marks and citation omitted). 3

        The Blockburger test “calls for comparison of the statutorily-prescribed elements of the

offenses, not the constituent facts either as alleged or proven.” United States v. Coachman, 727

F.2d 1293, 1301 (D.C. Cir. 1984); see, e.g., Illinois v. Vitale, 447 U.S. 410, 416 (1980) (“[T]he

Blockburger test focuses on the proof necessary to prove the statutory elements of each offense,

rather than on the actual evidence to be presented at trial.”); United States v. Weathers, 186 F.3d

948, 954 (D.C. Cir. 1999) (inquiry “focuses exclusively on the statutory elements of the offenses”),

cert. denied, 529 U.S. 1005 (2000). The inquiry, at bottom, is whether proof of one of the two

offenses “necessarily includes proof of” the other. Ball v. United States, 470 U.S. 856, 862 (1985);

accord United States v. Woodward, 469 U.S. 105, 108 (1985) (per curiam) (summarily reversing

lower court’s multiplicity determination because “proof of a currency reporting violation does not

necessarily include proof of a false statement offense” under 18 U.S.C. § 1001).

        2. Under these principles, Counts Four and Five charge separate “offenses” within the

meaning of the Double Jeopardy Clause. As an initial matter, and contrary to Manafort’s principal

contention (Doc. 236 at 6), proof of a violation of FARA’s false-statements provision will not

“necessarily” prove a Section 1001(a) violation as well. While FARA covers statements rendered



        3
          Manafort quotes (Doc. 236 at 5, 6) from the Supreme Court’s decision in United States
v. Dixon, 509 U.S 688, 696 (1993), which summarized the Blockburger test as “inquir[ing] whether
each offense contains an element not contained in the other.” But the Blockburger opinion, (see
284 U.S. at 304), Supreme Court decisions post-dating Dixon (see Rutledge v. United States, 517
U.S. 292, 297 (1996)), and Manafort’s cited D.C. Circuit precedent all state the governing test as
being “whether each provision requires proof of a fact that the other does not,” Mahdi, 598 F.3d
at 888 (quoting United States v. Weathers, 186 F.3d 948, 951 (D.C. Cir. 1999), cert. denied, 529
U.S. 1005 (2000)); see also Cooper, 2018 WL 1542496, at *5. Those formulations are used
interchangeably because they are functionally equivalent: each looks to what proof satisfies the
statutory definitions, rather than looking to the facts alleged to establish the violation in a particular
case. The proper analysis therefore does not change under either linguistic formulation.
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“misleading” by omissions of material facts, 22 U.S.C. § 618(a)(2), the D.C. Circuit has held that

Section 1001(a) does not reach statements that are misleading but “literally true.” See United

States v. Milton, 8 F.3d 39, 45 (D.C. Cir. 1993), cert. denied, 513 U.S. 919 (1994); United States

v. Dale, 991 F.2d 819, 832–833 (D.C. Cir.), cert. denied, 510 U.S. 906 (1993). Similarly, FARA

covers willful omissions of material fact no matter how they are accomplished, see 22 U.S.C.

§ 618(a)(2) (“willfully omits any material fact required to be stated”), while Section 1001(a)

applies to “nondisclosure of material facts” only when the conduct amounts to concealment and is

“accomplished in a particular way: by a ‘trick, scheme, or device.’” United States v. Safavian,

528 F.3d 957, 965 n.8 (D.C. Cir. 2008) (quoting 18 U.S.C. § 1001(a) and citing Woodward, 469

U.S. at 108). Accordingly, proof of a FARA false-statements violation will “not necessarily

include proof of a false statement offense” under Section 1001(a). Woodward, 469 U.S. at 108.

       Similarly, proving a violation of Section 1001(a) will not necessarily establish a FARA

false-statements violation. That is because Section 1001(a) reaches not just false statements in

materials furnished to the Attorney General under FARA, see 22 U.S.C. § 618(a)(2), but such

statements made in any matter within the executive branch’s jurisdiction. 18 U.S.C. § 1001(a).

Section 1001(a) would therefore cover false statements about an individual’s lobbying work

whether made to the State Department or the FBI, see United States v. Rodgers, 466 U.S. 475

(1984); indeed, it reaches statements made to entities that are outside of the federal government

when the executive branch “ha[s] the power to exercise authority” over the relevant matter. See

United States v. Starnes, 583 F.3d 196, 208 (3d Cir. 2009) (reports submitted to local housing

authority); see also, e.g., United States v. Hooper, 596 F.2d 219, 223 (7th Cir. 1979) (stipend

reports made to university subject to federal audit).




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       In sum, each of the false-statements statutes at issue can be satisfied with proof of facts

that would not suffice under the other: Section 1001(a) requires proof of actual falsity or

concealment through a trick, scheme, or device, whereas FARA sweeps more broadly by reaching

literally true yet misleading statements and willful omissions even absent affirmative acts of

concealment; and while FARA requires proof that the false or misleading statements were made

in submissions to the Attorney General, Section 1001(a) reaches more broadly to cover false

statements to other executive branch agencies (or non-federal agencies subject to federal

oversight). Those differences demonstrate that proving one offense does not necessarily prove the

other. Accordingly, the two crimes do not amount to “the same offense” under the Blockburger

test, see Mahdi, 598 F.3d at 888, and neither Count Four nor Count Five should be dismissed

as multiplicitous.4

       3. Manafort’s remaining contentions lack merit. Focusing on the offenses “[a]s alleged in

the Superseding Indictment,” Doc. 236 at 6, he offers a comparative chart that implies that the

charges against him rest solely on the ground that he affirmatively “made a false statement.” See

id. But Manafort’s focus on the specifics of the Indictment is, as a legal matter, misplaced. As

explained above, p. 6, supra, the Blockburger test compares the statutes on their face, not the

allegations in the particular charging instrument. See Coachman, 727 F.2d at 1301.




       4
          The result would be the same under Manafort’s preferred terminology of “necessarily
included” offenses, which he draws from precedent interpreting not the Double Jeopardy Clause,
but Federal Rule of Criminal Procedure 31(c). See Doc. 236 at 4 & n.1. Under that precedent,
one offense is “necessarily included in the other” if “it is impossible to commit the” first offense
“without . . . having committed the” second. Schmuck v. United States, 489 U.S. 705, 719 (1989)
(internal quotation marks omitted). As explained above, pp. 6-7, supra, it is possible to violate
Section 618(a)(2) without violating Section 1001(a) and vice versa; accordingly, neither is a
“necessarily included” offense of the other.
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       In any event, Manafort misreads the Indictment. Count Four alleges in plain terms that

Manafort both caused “a false statement of material fact” to be made, “and omitted a material fact

necessary to make the statements therein not misleading, in a document filed with and furnished

to the Attorney General under the provisions of FARA.” Indictment ¶ 45 (emphasis added); see

22 U.S.C. § 618(a)(2) (covering false statements and omissions of material fact). Count Five, in

turn, alleges that Manafort committed each of “[t]he several different types of fraudulent conduct

proscribed by” Section 1001(a), United States v. Stewart, 433 F.3d 273, 319 (2d Cir. 2006) (cited

at Doc. 236 at 7 n.3). In particular, and contrary to Manafort’s assertion (Doc. 236 at 3), the

Indictment alleges that he “knowingly and willfully cause[d] another . . . to make and use a false

writing and document knowing the same to contain a materially false, fictitious, and fraudulent

statement.” Indictment ¶ 47; see id. (also alleging that Manafort caused another “to falsify,

conceal, and cover up by a scheme and device a material fact[ and] to make a materially false,

fictitious, and fraudulent statement and representation”). The Indictment, in short, alleges not only

that Manafort made false statements but also that he committed the several other types of conduct

that he acknowledges Sections 618(a)(2) and 1001(a) to reach.

       Manafort asserts (Doc. 236 at 7) that these differences in the types of conduct covered by

the two provisions do not prevent Counts Four and Five from qualifying as “the same offense”

under Supreme Court precedent. But his cited decisions do not support that conclusion. To the

contrary, the Court’s decision in Illinois v. Vitale, supra, makes clear that a court determining

whether one offense “necessarily involve[s] proof” sufficient to establish another must account for

the full range of conduct that satisfies the two statutes. 447 U.S. at 417. In that case, the Court

held that manslaughter by automobile would not qualify as the greater offense of “failure to reduce

speed” if manslaughter could be committed through factual means other than “a failure to slow.”



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Id. at 419 (“[I]f manslaughter by automobile does not always entail proof of a failure to slow, then

the two offenses are not the ‘same’ under the Blockburger test.”). By the same logic, if a FARA

false-statements violation can be proved through facts that would “not always entail proof” of a

Section 1001(a) violation, and vice versa, then the two offenses are not “the ‘same.’” See id.

       Manafort’s other cited cases are inapposite. Both involve application of the Blockburger

test to offenses—such as felony murder and criminal contempt—that necessarily incorporate all

elements of a subsidiary crime. See United States v. Dixon, 509 U.S 688, 698 (1993) (contempt

based on violation of a “court order [that] incorporated the entire governing criminal code”);

Harris v. Oklahoma, 433 U. S. 682, 682–683 (1977) (per curiam) (felony murder). In that setting,

courts have based their Blockburger analysis on the particular version of the incorporated offense

at issue in the case, i.e., “the drug offense” that formed the basis for the contempt charge in Dixon,

509 U.S. at 698, and the robbery offense underlying the felony-murder charge in Harris, 433 U.S.

at 682–683 & n.*. See also United States v. McLaughlin, 164 F.3d 1, 13 (D.C. Cir. 1998)

(explaining Blockburger’s application to “compound offenses” such as felony murder), cert.

denied, 526 U.S. 1079 (1999). Manafort does not claim that either of the two statutes here

incorporates another crime’s elements in similar fashion.

       Finally, although Manafort notes (Doc. 236 at 5 n.2) that the Blockburger test is not

dispositive where contrary congressional intent is evident, he does not argue that Congress

intended to preclude multiple convictions in the specific circumstances of this case. That is with

good reason. Courts have regularly upheld “convictions and sentences under both § 1001 and a

more specific” false-statements provision. See United States v. Ramos, 725 F.2d 1322, 1324 (11th

Cir. 1984) (Section 1001 and 18 U.S.C. § 1542, which covers false statements in passport




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applications). 5 And when, as is true of FARA, 6 the more specific statute postdates Section

1001(a)’s enactment, courts have likewise rejected any suggestion that Congress meant to displace

Section 1001(a) and require prosecution exclusively under the other statute. See United States v.

Hansen, 772 F.2d 940, 945–946 (D.C. Cir. 1985) (collecting cases), cert. denied, 475 U.S. 1045

(1986). This case, in short, does not present the “clear indication of contrary legislative intent,”

Albernaz, 450 U.S. at 340, that would be necessary to counter the presence of separate offenses

under Blockburger.

       B.    Pre-Trial Dismissal Would Be Unwarranted Even If The Counts Were
             Multiplicitous

       Even if Counts Four and Five were multiplicitous, Manafort’s requested remedy of pre-

trial dismissal would be unwarranted. That remedy is not, as Manafort implies (Doc. 236 at 8–9),

standard practice in this District or elsewhere. See United States v. Pires, 642 F.3d 1, 16 (1st Cir.

2011) (“There is no inflexible rule that the exclusive remedy for multiplicitous counts is election

between them.”); United States v. Phillips, 962 F. Supp. 200, 201 (D.D.C. 1997) (stating that “the

decision whether to compel the prosecution to elect among multiplicitous counts before trial is

within the discretion of the trial court”) (cited at Doc. 236 at 8–9). To the contrary, Manafort’s

own cited cases recognize that “[t]he principal danger in a multiplicitous indictment is . . . that the

defendant may receive multiple sentences for a single offense.” United States v. Langford, 946



       5
         See also, e.g., United States v. Bryant, 117 F.3d 1464, 1468–1469 (D.C. Cir. 1997)
(Section 1001 and impersonation of a federal official, in violation of 18 U.S.C. § 912), cert. denied,
523 U.S. 1071 (1998); United States v. Laimeche, 56 F. App’x 835, 836 (9th Cir. 2003)
(unpublished) (Section 1001 and Medicare-specific statute); United States v. York, 888 F.2d 1050,
1058–1059 (5th Cir. 1989) (Section 1001 and false statement in a loan application under 18 U.S.C.
§ 1014).
       6
         Compare Act of June 8, 1938, ch. 327, § 5, 56 Stat. 633 (version of FARA’s false-
statements provision in the original 1938 statute), with United States v. Gilliland, 312 U.S. 86, 92–
93 (1941) (explaining that the relevant language in current Section 1001(a) was added in 1934).
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F.2d 798, 804 (11th Cir. 1991), cert. denied, 503 U.S. 960 (1992). And because “the primary evil

of multiplicity is double punishment for the same offense,” “[m]ultiplicitous counts may be” (and

often are) remedied at the sentencing phase. United States v. Sanford, Ltd., 859 F. Supp. 2d 102,

121 (D.D.C. 2012); see Ball, 470 U.S. at 865.

       The D.C. Circuit has approved of remedying multiplicity claims at the post-trial stage in

several settings. In United States v. Hubbell, 177 F.3d 11, 14 (D.C. Cir. 1999), a false-statements

prosecution, the court observed generally “that multiplicity claims are better sorted out post-trial.”

The court in United States v. Clark, 184 F.3d 858 (D.C. Cir. 1999), “detect[ed] no prejudice” from

the submission of multiplicitous counts based on the same evidence, holding that the only

necessary remedy was to vacate one of the two resulting convictions. Id. at 872. And in United

States v. Dale, 991 F.2d 819 (D.C. Cir. 1993), the court held that the trial judge had “correctly

submitted” charges under two tax statutes to the jury “[g]iven the absence of controlling D.C.

Circuit precedent” deeming such charges multiplicitous and that the appropriate remedy was

simply “to vacate the sentences” for one set of the charges. Id. at 859; see United States v. Wheeler,

No. 11-cr-151 (ESH), 2012 WL 1865506, at *1–*2 (D.D.C. 2012) (where multiplicity question

was “of first impression in this jurisdiction,” finding it “appropriate to allow all of the counts to

go to the jury” so that the court of appeals would have a chance to address the question).

       Analogous considerations show that Manafort’s multiplicity claim here is also “better

sorted out post-trial.” Hubbell, 177 F.3d at 14. First, Manafort faces little risk of prejudice from

being tried on Counts Four and Five where, by his own account (Doc. 236 at 3, 8), “the charges

encompass the same underlying facts and conduct,” Sanford, Ltd., 859 F. Supp. 2d at 124, and the

jury will have to weigh the same evidence in evaluating Manafort’s guilt on the Count One

conspiracy charge in any event. See Indictment ¶ 38 (alleging that Manafort conspired to commit



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the false-statements offenses charged in Counts Four and Five and “to defraud the United States

by impeding, obstructing, and defeating the lawful functions of” the Department of Justice.

Moreover, as Judge Huvelle concluded in Wheeler, 2012 WL 1865506, at *2, any “potential

prejudice”—such as Manafort’s suggestion that jurors will be tempted to reach a compromise

verdict (Doc. 236 at 8–9)—“can be addressed through” instructions emphasizing the need for the

jury to consider each charge separately. See, e.g., 1A Kevin F. O’Malley, et al., Fed. Jury Prac.

& Instr. § 12:12 (6th ed.). Jurors, of course, are presumed to follow such instructions. See Zafiro

v. United States, 506 U.S. 534, 540–541 (1993).

       Finally, if there were a serious question of multiplicity (here, the government submits there

is not), post-trial consideration would promote judicial efficiency. It would avoid premature

resolution of a question of first impression that may disappear if the jury acquits on one or both of

the charges, see Pires, 642 F.3d at 16; Sanford, Ltd., 859 F. Supp. 2d at 121, 124, and would

preserve the possibility that the court of appeals will be able to resolve the legal question on appeal

from a final judgment (or an appealable post-trial order), see Dale, 991 F.2d at 859; Wheeler, 2012

WL 1865506, at *1.




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                                          CONCLUSION

       For the foregoing reasons, Manafort’s motion to dismiss one of two counts as

multiplicitous (Doc. 236) should be denied. 7

                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER, III
                                                       Special Counsel

Dated: April 4, 2018                                   /s/ Andrew Weissmann
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       7
         If the Court defers consideration of the multiplicity question to the post-trial stage, it may
wish to deny Manafort’s motion “without prejudice to being renewed after trial.” Wheeler, 2012
WL 1865506, at *2.
                                                 14
